Case 1:11-cv-00400-RJA Document 74 Filed 07/31/19 Page 1of5

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA, and the
STATES OF CALIFORNIA,
DELAWARE, FLORIDA, HAWAII,
ILLINOIS, INDIANA,
MASSACHUSETTS, MINNESOTA,
MONTANA, NEVADA, NEW
HAMPSHIRE, NEW JERSEY, NEW
MEXICO, NEW YORK, NORTH
CAROLINA, RHODE ISLAND,
TENNESSEE, VIRGINIA and the
DISTRICT OF COLUMBIA ex rel.
JAMES GLENN,

Plaintiffs,
-against-
CISCO SYSTEMS, INC.,

Defendant.

 

 

Index No.: 11-CV-0400(A)

NOTICE OF INTENTION TO INTERVENE
IN QUI TAM CASE FOR PURPOSES OF SETTLEMENT

Pursuant to the False Claims Act, 31 U.S.C. §§ 3730(b)(2) and (4), and to the

false claims acts of the states named as Plaintiffs in this action, the United States, on

behalf of itself and of the States of California, Delaware, Florida, Hawaii, Illinois,

Indiana, Minnesota, Nevada, New Jersey, New Mexico, New York, North Carolina,

Tennessee, the Commonwealths of Massachusetts and Virginia, and the District of

Columbia (the “State Plaintiffs”), hereby gives notice of its, and of the State Plaintiffs’,

intention to intervene, for the purpose of settling this gui tam action.
Case 1:11-cv-00400-RJA Document 74 Filed 07/31/19 Page 2 of 5

Dated: July ot), 2019

Respectfully submitted,

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By: ME

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Case 1:11-cv-00400-RJA Document 74 Filed 07/31/19 Page 3 of 5

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Index No.: 11-CV-0400(A)
United States District Court, Western District of New York

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Case 1:11-cv-00400-RJA Document 74 Filed 07/31/19 Page 4of5

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Case 1:11-cv-00400-RJA Document 74 Filed 07/31/19 Page 5of5

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